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U.S. Department of Justice

William D. Weinreb
Acting United States Attorney
Dz'strict of Massachusetts

 

 

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l Courthouse Way
Suile 9200
Bos!on, Massachusetts 02210

Aprii 12, 2017

MichaelP. Doolin, Esq. :_,- , i" ~ . `_
512 Gallivan Blvd. aj \\
Dorchester, MA 02124 / _' '-`! "~;` f : j di i

Rc: United States v. Tony Berlj), et al.
Criminal No. lS-CR-lOl46-NMG ` ";""~~`4;‘;` ~\ f

Dear Mr. Doolin:

The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and
your client, Tony Berry (“Defendant”), agree as follows with respect to the above-referenced case:

l. Change of Plea

At the earliest practicable date, Defendant shall plead guilty to so much of Count One in
which he is named in the above-referenced Indictment as charges Conspiracy to Distribute
Oxycodone, in violation of Title 21, United States Code, Section 846. Defendant expressly and
unequivocally admits that he committed so much of Count One of the Indictment as charged the
crime of Conspiracy to Distribute Oxycodone, did so knowingly and intentionally, and is in fact
guilty of that offense.

The U.S. Attorney agrees not to tile an Information pursuant to 21 U.S.C. §851 in this
matter.

2. Penalties

Defendant faces the following mandatory minimum and maximum penalties on that much
of Count One of the Indictment to which he is pleading guilty: incarceration for not more than 20
years ; supervised release for not less than 3 years and up to life; a fine of not more than $1,000,000;
a mandatory special assessment of $IOO; and forfeiture to the extent charged in the Indictment

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Defendant also recognizes that pleading guilty may have consequences with respect to Defendant’s
immigration status if Defendant is not a citizen of the United States. Under federal law, a broad
range of crimes are removable offenses, including the offense to which Defendant is pleading
guilty. Removal and other immigration consequences are the subject of a separate proceeding,
however, and Defendant understands that no one, including defense counsel and the District Court,
can predict to a certainty the effect of this conviction on Defendant’s immigration status.
Defendant nevertheless affirms his decision to plead guilty regardless of any immigration
consequences that this plea may entail, even if the consequence is Defendant’s automatic removal
from the United States.

3. Fed. R. Crim. P. ll(c)(l)(C) Plea

This Plea Agreement is made pursuant to Fed. R. Crim. P. ll(c)(l)(C), and Defendant’s
guilty plea will be tendered pursuant to that provision. In accordance with Rule l l(c)(l)(C), if the
District Court (“Court”) accepts this Plea Agreement, the Court must include the agreed
disposition in the judgment. If the Court rejects any aspect of this Plea Agreement, the U.S.
Attorney may deem the Plea Agreement null and void. Defendant understands and acknowledges
that he/she may not withdraw his/her plea of guilty unless the Court rejects this Plea Agreement
under Fed. R. Crim. P. ll(c)($).

4. Sentencing Guidelines

The parties agree jointly to take the following positions at sentencing under the United
States Sentencing Guidelines (“USSG” or “Guidelines”). The parties agree that Defendant’s total
adjusted offense level under the Guidelines is calculated as follows:

The parties agree that Defendant’s total offense level under the USSG (prior to any adjustment for
acceptance of responsibility) is calculated as follows:

0 in accordance with USSG § 2D1.l(c)(6) and the drug conversion and marijuana
equivalency table found in USSG § 2Dl.l, Application Note 8, Defendant’s
base offense level is 28, because he is responsible for 4738 30 mg oxycodone
tablets, which is equivalent to at least 700 kilograms, but less than 1,000
kilograms of marijuana;

0 in accordance with USSG § 3Bl.l(c), Defendant’s offense level is increased by
2, because Defendant was an organizer, leader, manager, or supervisor in any
criminal activity; and

0 in accordance with USSG § 3El .l, based on Defendant’s prompt acceptance of
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personal responsibility for the offense of conviction in this case, the adjusted
offense level is reduced by three.

The U.S. Attorney’s agreement that the disposition set forth below is appropriate in this
case is based, in part, on Defendant’s prompt acceptance of personal responsibility for the offense
of conviction in this case.

The U.S. Attorney may, at his sole option, be released from his commitments under this
Plea Agreement, including, but not limited to, his agreement that Paragraph 5 constitutes the
appropriate disposition of this case, if at any time between Defendant’s execution of this Plea
Agreement and sentencing, Defendant:

(a)
(b)
(C)

(d)

(€)

(f)

(g)
(h)
(i)

(j)

Fails to admit a complete factual basis for the plea;
Fails to truthfully admit Defendant’s conduct in the offense of conviction;

Falsely denies, or fiivolously contests, relevant conduct for which
Defendant is accountable under USSG § lBl .3;

Fails to provide truthful information about Defendant’s financial status ;
Gives false or misleading testimony in any proceeding relating to the
criminal conduct charged in this case and any relevant conduct for which

Defendant is accountable under USSG § lBl.3;

Engages in acts that form a basis for finding that Defendant has obstructed
or impeded the administration of justice under USSG § 3Cl.l;

Intentionally fails to appear in Court or violates any condition of release;
Commits a crime;

Transfers any asset protected under any provision of this Plea Agreement;
or

Attempts to withdraw Defendant’s guilty plea.

Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Offlce with accurate and complete information regarding this case,

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5 . Agreed Disposition

Pursuant to Fed. R. Crim. P. ll(c)(l)(C), the U.S. Attorney and Defendant agree that the
following is a reasonable and appropriate disposition of this case:

(a) incarceration for 70 to 87 months;

(b) 36 months of supervised release;

(c) a mandatory special assessment of $100, which Defendant must pay to the
Clerk of the Court on or before the date of sentencing (unless Defendant
establishes to the Court’s satisfaction that Defendant is unable to do so);
and

(d) forfeiture as set forth in Paragraph 8.

Within the sentencing range agreed to by the parties, the sentence to be imposed upon
Defendant is within the discretion of the Court, subject to the provisions of the advisory USSG
and the factors set forth in 18 U.S.C. § 3553(a).

6. Protection of Assets for Pavment of Restitution, Forfeiture and Fine

Defendant agrees not to transfer, or authorize the transfer of, any asset that has been
restrained by Order of the Court in this case or any asset, whether or not restrained, that Defendant
has agreed to forfeit pursuant to this Plea Agreement

Defendant agrees not to transfer, or authorize the transfer of any other asset in which
Defendant has an interest Without prior express written consent of the U.S. Attorney, except for:

(a) Assets subject to superior, secured interests of innocent third parties, in
which Defendant has an equity interest of less than $ 10,000;

(b) Ordinary living expenses necessary to house, clothe, transport and feed
Defendant and those to whom Defendant owes a legal duty of support, so
long as such assets do not exceed $ 1000 per month; and

(c) Attomey’s fees incurred in connection with this criminal case,
This prohibition shall be effective as of the date of Defendant’s execution of this Plea

Agreement and continue until the fine, forfeiture and restitution ordered by the Court at sentencing
satisfied in full.

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If the U.S. Attorney requests, Defendant further agrees to complete truthfully and
accurately the sworn financial statement enclosed with this Plea Agreement and to deliver that
statement to the U.S. Attorney within 30 days of signing this Plea Agreement.

7. Waiver of Rigl_it to Appeal and to Bring Future Challenge

(a)

(b)

(C)

Defendant has conferred with his attorney and understands that he has the
light to challenge his conviction in the United States Court of Appeals for
the First Circuit (“direct appeal”). Defendant also understands that, in some
circumstances, Defendant may be able to challenge his conviction in a
future proceeding (collateral or otherwise), such as pursuant to a motion
under 28 U.S.C. § 2255 or 28 U.S.C. § 2241. Defendant waives any right
to challenge Defendant’s conviction on direct appeal or in any future
proceeding (collateral or otherwise).

Defendant has conferred with his attorney and understands that defendants
ordinarily have a right to challenge in a direct appeal their sentences
(including any orders relating to supervised release, fines, forfeiture, and
restitution) and may sometimes challenge their sentences (including any
orders relating to supervised release, fines, forfeiture, and restitution) in a
future proceeding (collateral or otherwise). The rights that are ordinarily
available to a defendant are limited when a defendant enters into a Rule
l l(c)(l )(C) agreement In this case, Defendant waives any rights Defendant
may have to challenge the agreed-upon sentence (including any agreement
relating to supervised release, fines, forfeiture, and restitution) on direct
appeal and in a future proceeding (collateral or otherwise), such as pursuant
to 28 U.S.C. § 2255 and 28 U.S.C. § 2241. Defendant also waives any right
Defendant may have under 18 U.S.C. § 3582 to ask the Court to modify the
sentence, even if the USSG are later amended in a way that appears
favorable to Defendant. Likewise, Defendant agrees not to seek to be
resentenced with the benefit of any change to Defendant’s Criminal History
Category that existed at the time of Defendant’s original sentencing
Defendant also agrees not to challenge the sentence in an appeal or future
proceeding (collateral or otherwise) even if the Court rejects one or more
positions advocated by any party at sentencing In sum, Defendant
understands and agrees that in entering into this Plea Agreement, the parties
intend that Defendant will receive the benefits of the Plea Agreement and
that the sentence will be final.

The U.S. Attorney agrees that he will not appeal the imposition by the Court
of a sentence within the sentencing range agreed to by the parties as set out
in Paragraph 5, even if the Court rejects one or more positions advocated by
either party at sentencing

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(d) Regardless of the previous subparagraphs, Defendant reserves the right to
claim that: (i) Defendant’s lawyer rendered ineffective assistance of counsel
under Strickland v. Washington; or (ii) the prosecutor in this case engaged
in misconduct that entitles Defendant to relief from Defendant’s conviction
or sentence,

8. Forfeiture

Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
enter an order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may
include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant’s
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense.

The assets to be forfeited specifically include, without limitation, the following:

a. one ZTE Corporation Metro PCS Cell Phone, Model 730; and
b. a forfeiture money judgment in the amount of $10,000 in United States currency.

Defendant admits that these assets are subject to forfeiture on the grounds that they
constitute, or are derived from, proceeds obtained, directly or indirectly, as the result of
Defendant’s offenses charged in Count One of the Indictrnent; and/or were used, or intended to be
used, in any manner or part, to commit, or to facilitate the commission of Defendant’s offenses.
Defendant agrees to consent to the entry of orders of forfeiture for such property, including the
entry of a forfeiture money judgment in the amount of 310,000 in lieu of the forfeiture of the
following properties:

a. the real property located at 2300 Burdett Ridge Drive, Atlanta, Georgia, including
all buildings, appurtenances, and improvements thereon; and

b. the real property located at 5335 Willow Park Boulevard, College Park, Georgia,
including all buildings, appurtenances, and improvements thereon.

Defendant further agrees to remit $5,000 in the form of a certified check made payable to
the United States Marshal’s Service to the United States Attomey’s Office on or before the date of
sentencing and agrees to remit $ l ,000 in the form of a certified check each month until the balance
of the forfeiture money judgment is satisfied in full. Defendant acknowledges that the United

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States shall place a lien on the above referenced real properties in the amount of $5,000 until the
forfeiture money judgment is satisfied in full.

Defendant waives the requirements of Federal Rules of Criminal Procedure ll(b)(l)(J),
32.2, and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding the
forfeiture at the change-of-plea hearing, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment Defendant understands and agrees that forfeiture
shall not satisfy or affect any fine, lien, penalty, restitution, cost of imprisonment, tax liability or
any other debt owed to the United States.

Defendant agrees to assist fully in the forfeiture of the foregoing assets. Defendant agrees
to promptly take all steps necessary to pass clear title to the forfeited assets to the United States,
including but not limited to executing any and all documents necessary to transfer such title,
assisting in bringing within the jurisdiction of the United States any assets located outside of the
United States, and taking all steps necessary to ensure that assets subject to forfeiture are not sold,
disbursed, wasted, hidden or otherwise made unavailable for forfeiture Defendant further agrees
(a) not to assist any third party in asserting a claim to the forfeited assets in an ancillary proceeding,
and (b) to testify truthfully in any such proceeding

Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement Defendant agrees not to challenge or seek review of any civil or
administrative forfeiture of any property subject to forfeiture under this Plea Agreement, and will
not assist any third party with regard to such challenge or review.

Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets. Without limiting the generality of the
foregoing, Defendant hereby specifically waives and releases Defendant’s claims to the following:

a. one Kel Tec model PLR-16 5.56mm handgun, bearing serial number P7Y97 and
associated ammunition;

b. one 'I`aurus model PT738 .380 ACP handgun, bearing serial number 06376E and
associated ammunition; and

c. one Glock handgun model 28 .40 caliber, bearing serial number lEPP980US and
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associated ammunition,

seized by, or turned over to the Federal Bureau of Investigation on or about June 18, 2015, as to
which, Defendant hereby acknowledges, Defendant received actual notice of administrative or
civil judicial forfeiture proceedings on August 6 and ll, 2015.

9. Civil Liability

By entering into this Plea Agreement, the U.S. Attorney does not compromise any civil
liability, including but not limited to any tax liability, Defendant may have incurred or may incur
as a result of Defendant’s conduct and plea of guilty to the charges specified in Paragraph l of this
Plea Agreement,

10. Withdrawal of Plea Bv Defendant or Rei ection of Plea bv Court

Should Defendant move to Withdraw his guilty plea at any time, or should the Court reject
the parties’ agreed-upon disposition of the case or any other aspect of this Plea Agreement, this
Plea Agreement shall be null and void at the option of the U.S. Attorney. In this event, Defendant
agrees to waive any defenses based upon the statute of limitations, the constitutional protection
against pre-indictment delay, and the Speedy Trial Act with respect to any and all charges that
could have been timely brought or pursued as of the date of this Plea Agreement,

ll. Breach of Plea Agreement

If the U.S. Attorney determines that Defendant has failed to comply With any provision of
this Plea Agreement, has engaged in any of the activities set forth in Paragraph 4(a)-(j), has violated
any condition of Defendant’s pretrial release, or has committed any crime following Defendant’s
execution of this Plea Agreement, the U.S. Attorney may, at his sole option, be released f`rorn his
commitments under this Plea Agreement in their entirety by notifying Defendant, through counsel
or otherwise, in writing. The U.S. Attorney may also pursue all remedies available to him under
the law, regardless whether he elects to be released from his commitments under this Plea
Agreement Further, the U.S. Attorney may pursue any and all charges which otherwise may have
been brought against Defendant and/or have been, or are to be, dismissed pursuant to this Plea
Agreement Defendant recognizes that his breach of any obligation under this Plea Agreement
shall not give rise to grounds for withdrawal of Defendant’s guilty plea, but will give the U.S.
Attorney the right to use against Defendant before any grand jury, at any trial or hearing, or for
sentencing purposes, any statements made by Defendant and any infonnation, materials,
documents or objects provided by Defendant to the government, without any limitation, regardless
of any prior agreements or understandings, Written or oral, to the contrary. In this regard,
Defendant hereby waives any defense to any charges that Defendant might otherwise have based
upon any statute of limitations, the constitutional protection against pre-indictment delay, or the
Speedy Trial Act.

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12. Who Is Bound By Plea Agreement

This Plea Agreement is limited to the U.S. Attorney for the District of Massachusetts, and
cannot and does not bind the Attorney General of the United States or any other federal, state or
local prosecutive authorities

13. Complete Plea Agreement

This Plea Agreement can be modified or supplemented only in a written memorandum
signed by the parties or on the record in court.

If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Emily Cannon or
Michael Crowley.

Very truly yours,

WILLIAM D. WEINREB
Acting United States Attorney

By-\__’>~y§'¢""

rIMoTYIY E. MoRAN
Deputy Chief,
Gang and Organized Crime Unit

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Emily Canno
Assistant U. , Attorney

 

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ACKNOWLEDGMENT OF PLEA AGREEMENT

I have read this letter in its entirety and discussed it with my attorney. l hereby
acknowledge that (a) it accurately sets forth my plea agreement with the United States Attomey’s
Office for the District of Massachusetts; (b) there are no unwritten agreements between me and
the United States Attomey’s Office; and (c) no official of the United States has made any unwritten
promises or representations to me, in connection with my change of plea. In addition, I have
received no prior offers to resolve this case. I understand the crime to which I have agreed to plead
guilty, the mandatory minimum and maximum penalties for that offense and the Sentencing
Guideline penalties potentially applicable to it. I am satisfied with the legal representation
provided to me by my attorney. We have had sufficient time to meet and discuss my case. We
have discussed the charge against me, possible defenses I might have, the terms of this Plea
Agreement and whether l should go to trial. I am entering into this Plea Agreement freely,
voluntarily, and knowingly because I am guilty of the offense to which I am pleading guilty and I

believe this Plea Agreement is in my best interest
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Té£y Beé{y
Defendant

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I certify that Tony Beny has read this Plea Agreement and that We have discussed its
meaning I believe he understands the Plea Agreement and is entering into the Plea Agreement
freely, voluntarily and knowingly I also certify that the U.S. Attorney has not extended any other

offers to resolve this matter.

Michael P. Doolin
Attorney frr Defeniant

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Date:

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